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                         IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF OREGON

                                    PENDLETON DIVISION

OREGON FIREARMS FEDERATION, INC.,             Case No. 2:22-cv-01815-IM (Lead Case)
et al.,                                       Case No. 3:22-cv-01859-IM (Trailing Case)
                    Plaintiffs,               Case No. 3:22-cv-01862-IM (Trailing Case)
        v.                                    Case No. 3:22-cv-01869-IM (Trailing Case)
TINA KOTEK, et al.,
                                              CONSOLIDATED CASES
                              Defendants.
MARK FITZ, et al.,                            PLAINTIFFS’ DAUBERT MOTIONS
                              Plaintiffs,
       v.
ELLEN F. ROSENBLUM, et al.,
                              Defendants.

KATERINA B. EYRE, et al.,
                              Plaintiffs,
       v.
ELLEN F. ROSENBLUM, et al.,
                              Defendants.

DANIEL AZZOPARDI, et al.,
                              Plaintiffs,
       v.
ELLEN F. ROSENBLUM, et al.,
                              Defendants.




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       The parties made a good faith effort through telephone conference to resolve the dispute

and have been unable to do so.

                                        MOTION – FRE 702

       Plaintiffs respectfully submit this consolidated Daubert motion pursuant to Federal Rule

of Evidence 702 and this Court’s Order of April 24, 2023 (Dkt. 132). For the reasons set forth in

the motion below, this Court should:

              1. Exclude Rivas’s testimony in its entirety; Spitzer’s testimony in its entirety; and

                 DeLay’s third opinion, see DeLay Decl. ¶¶61-77.

              2. Exclude Cook’s, Siegel’s Allen’s, McDowall’s and Sweeney’s testimony in their

                 entirety; and Klarevas’s first, second, and fifth opinions, see Klarevas Decl. ¶11.

              3. Exclude Baron’s testimony in its entirety.

              4. Exclude Dr. Siegel’s opinion that that discretionary denials of permits reduce gun

                 violence, see Siegel Decl. ¶¶35-49.

              5. Exclude Sweeney’s testimony in its entirety.

This motion is supported by the accompanying Memorandum, the record in this matter, the

declaration of Shawn M. Lindsay and the attachments thereto, and all other matters properly before

this Court.




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                                         MEMORANDUM

                                         INTRODUCTION

       The Supreme Court could not have been clearer in New York State Rifle & Pistol

Association v. Bruen, 142 S.Ct. 2111 (2022), that it was rejecting the till-then-prevalent practice of

“[f]ederal courts … making … empirical judgments regarding firearm regulations under the banner

of ‘intermediate scrutiny.’” Id. at 2131. Yet the bulk of Defendants’ twelve expert witnesses have

been offered to do exactly that—discuss the relative wisdom of Oregon’s Measure 114 as a policy

matter, including by offering in many instances the exact same testimony they offered in pre-Bruen

cases. Because such testimony is not relevant under Bruen, it is not “relevant” under the Federal

Rules of Evidence either, and the witnesses offering it should be excluded. See Fed. R. Evid. 402,

702; Primiano v. Cook, 598 F.3d 558, 567 (9th Cir. 2010) (“What is relevant depends on what must

be proved, and that is controlled by [the underlying substantive] law.”).

       Bruen made equally clear who is responsible for doing what under its new history-focused

test. While historians perform historical research and parties’ lawyers present argument, “‘legal

inquiry is a refined subset’ of a broader ‘historical inquiry,’” and that legal inquiry is “[t]he job of

judges.” Bruen, 142 S.Ct. at 2130 n.6. But Defendants in this case offer three witnesses who

testify at length to the correct interpretations of statutes. This flies in the face not only of Bruen,

but of black letter law: “[m]atters of law” are “for the court’s determination.” Aguilar v. Int’l

Longshoremen’s Union Loc. No. 10, 966 F.2d 443, 447 (9th Cir. 1992). “An expert witness may

not testify as to conclusions of law … or provide an interpretation of what a particular statute

requires—tasks that are exclusively reserved for the court.” Chaney v. Wadsworth, 2015 WL

4388420, at *10 (D. Mont. July 15, 2015). This rule—as Bruen shows—does not have an

exception for old statutes. Defendants’ witnesses offering legal testimony should be excluded.



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       Finally, three of Defendants’ witnesses offer testimony that is flawed for additional reasons.

Dennis Baron may be an qualified linguist, but by his own admission he knows nothing about

firearms—and as a result, he chose a linguistic comparator, “cartridge box,” that has no

equivalence to modern magazines. He made this choice, moreover, in an unreliable way. His

testimony is thus both irrelevant and unreliable. Michael Siegel, a doctor who is offering means-

ends testimony barred under Bruen to begin with, did not differentiate between permit-to-purchase

regimes and other types of permitting regimes (such as concealed-carry licensing) in making his

report, thus rendering it unreliable on one of the central questions in this case. And historian Kevin

Sweeney’s survey of arms owned at the time of the founding not only is foreclosed by three

independent Supreme Court decisions, see District of Columbia v. Heller, 554 U.S. 570, 582 (2008)

(rejecting an argument based on such an inquiry as “bordering on the frivolous”); Caetano v.

Massachusetts, 577 U.S. 411, 411-412 (2016) (summarily reversing a court for focusing on

whether stun guns were prevalent at the founding); Bruen, 142 S.Ct. at 2143 (reiterating that what

matters is whether arms are in common use “today”); but is methodologically flawed, to boot. All

of these three witnesses’ testimony should also be excluded.

                                      LEGAL STANDARDS

       To be offered at trial, expert opinion testimony must meet two threshold requirements. See

Daubert v. Merrell Dow Pharms. Co., 509 U.S. 579, 595-97 (1993); FTC v. BurnLounge, Inc., 753

F.3d 878, 888 (9th Cir. 2014) (“[T]he trial court’s gatekeeping function explained in Daubert

applies not only to scientific testimony, but to all expert testimony.”); Bordelon v. Airgas USA,

LLC, 603 F.Supp.3d 946, 952 (D. Or. 2022) (Immergut, J.). First, like all evidence, expert opinion

testimony must be relevant. “What is relevant depends on what must be proved, and that is

controlled by [the underlying substantive] law.” Primiano, 598 F.3d at 567. “Clearly, expert

testimony does not ‘help’ if it is unrelated to facts at issue or is based on factual assumptions that
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are not supported by the evidence.” 29 Wright & Miller, Fed. Prac. & Proc. Evid. §6265.2 & nn.2-

3 (2d ed. 2023) (collecting cases). Expert opinion testimony is thus typically relevant “if the

knowledge underlying it has a valid connection to the pertinent inquiry.” Elosu v. Middlefork

Ranch Inc., 26 F.4th 1017, 1024 (9th Cir. 2022); see Fed. R. Evid. 401, 402; see also Primiano,

598 F.3d 563, 567 (Rule 702’s requirement that an expert witness’s “specialized knowledge will

assist the trier of fact” “‘goes primarily to relevance.’” (quoting Daubert, 509 U.S. at 591)).

       Second, expert opinions—i.e., testimony “in the form of an opinion” by “a witness who is

qualified as an expert by knowledge, skill, experience, training, or education”—must be reliable.

So, in addition to being relevant, expert opinion must have “a reliable basis in the knowledge and

experience of the relevant discipline.” Kumho Tire Co. v. Carmichael, 526 U.S. 137, 149 (1999);

see Pooshs v. Phillip Morris USA, Inc., 287 F.R.D. 543, 546 (N.D. Cal. 2012) (identifying factors

that “might be considered,” “includ[ing] whether an expert has unjustifiably extrapolated from an

accepted premise to an unfounded conclusion … or whether an expert has adequately accounted

for obvious alternative explanations”). “In addition, a court may exclude expert testimony on the

ground that an expert’s purported methodology fails to explain his final conclusion.” Pooshs, 287

F.R.D. at 546. “[N]othing in either Daubert or the Federal Rules of Evidence requires a district

court to admit opinion evidence that is connected to existing data only by the ipse dixit of the

expert.” Gen. Elec. v. Joiner, 522 U.S. 136, 146 (1997); see Kumho Tire, 526 U.S. at 152.

        “Rule 702 applies whether the trier of fact is a judge or a jury.” UGI Sunbury LLC v. A

Permanent Easement for 1.7575 Acres, 949 F.3d 825, 832 (3d Cir. 2020) (“By using the term ‘trier

of fact,’ rather than specifying judge or jury, Rule 702 does not distinguish between proceedings.”);

accord United States v. Flores, 901 F.3d 1150, 1165 (9th Cir. 2018); see also Hannah v. United




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States, 2019 WL 718119, at *4 (E.D. Cal. Feb. 20, 2019) (“[A] bench trial does not exempt an

expert witness from Rule 702’s reliability requirement.”).

                                          ARGUMENT

I.     Several Of Defendants’ Experts Offer Testimony That Is Legally Impermissible
       And/Or Irrelevant Under Binding Supreme Court Precedent.

       A.      Some of Defendants’ Historical Experts Offer Impermissible Legal-
               Interpretation or Legal-Conclusion Testimony.

       Expert witnesses may not provide legal analysis or offer conclusions of law, period. “Each

courtroom comes equipped with a ‘legal expert,’ called a judge.” Burkhart v. Wash. Metro. Area

Transit Auth., 112 F.3d 1207, 1213 (D.C. Cir. 1997) (reversing admission of expert testimony on

legal issues at trial); Specht v. Jensen, 853 F.2d 805, 807 (10th Cir. 1988) (same). “This holds just

as true when the finder of fact is the court, if not more so; the court is well equipped to instruct

itself on the law.” Stobie Creek Invs., LLC v. United States, 81 Fed.Cl. 358, 360-61 (Fed. Cl. 2008)

(collecting cases). Thus, although “expert testimony that is ‘otherwise admissible is not

objectionable because it embraces an ultimate issue to be decided by the trier of fact’ …, ‘an expert

witness cannot give an opinion as to her legal conclusion, i.e., an opinion on an ultimate issue of

law.’” Hangarter v. Provident Life & Acc. Ins. Co., 373 F.3d 998, 1016 (9th Cir. 2004) (emphasis

in original) (quoting Fed. R. Evid 704(a) and Mukhtar v. Cal State Univ., Hayward, 299 F.3d 1053,

1066 n.10 (9th Cir. 2002)). Such “legal matters” are instead “for the court’s determination”

alone. Aguilar, 966 F.2d 443 at 447.

       This rule has a wide sweep: “An expert witness may not testify as to conclusions of law …

or provide an interpretation of what a particular statute requires—tasks that are exclusively

reserved for the court.” Chaney v. Wadsworth, 2015 WL 4388420, at *10 (D. Mont. July 15, 2015);

see also Indep. Living Res. v. Oregon Arena Corp., 982 F.Supp. 698, 765 (D. Or. 1997) (“As a

general rule … the interpretation of a law is peculiarly within the court’s own expertise and thus

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is not a proper subject for expert testimony.”), supplemented, 1 F.Supp.2d 1159 (D. Or. 1998). As

this Court has noted previously, “expert testimony is not proper for issues of law because the role

of experts is to interpret and to analyze factual evidence rather than to testify about the

law.” Bridgetown Condo. Homeowner’s Ass’n v. Ford Dev., Inc., 2009 WL 1743759, at *1 (D. Or.

June 18, 2009) (citing McHugh v. United States Auto. Ass’n, 164 F.3d 451, 454 (9th Cir. 1999),

and Crow Tribe of Indians v. Racicot, 87 F.3d 1039, 1045 (9th Cir. 1996)).

         That bedrock principle renders much of the expert testimony that Defendants have offered

impermissible. Defendants have offered twelve expert witnesses. Of these, five are historians

who address the history of firearms regulations. 1 In so doing, three tread over the line into

impermissible legal interpretation. See supra, pp.5-6. This happens in two ways. The most

obvious is that defense experts have testified straightforwardly to how they think statutes or

regulations should be interpreted. See Chaney, 2015 WL 4388420, at *10 (“An expert witness

may not … provide an interpretation of what a particular statute requires—[a] task[] that [is]

exclusively reserved for the court.”). Dr. Rivas, for instance, summarizes her opinion as an

“exploration of historical record regulations.” Rivas Decl. ¶10; see also id. ¶9 (“[A]n historian

interpret[s] … laws ….”); id. (discussing Westlaw research); Lindsay Decl., Exhibit 1, Rivas Tr.

(“Rivas Tr.”) 17:3-20:3 (discussing statutory research on Westlaw and HeinOnline). Likewise, Dr.

Spitzer described his “approach” as “looking at the constitution, looking at founding debates,

finding document, statutory law, case law ….” Lindsay Decl., Exhibit 2, Spitzer Tr. (“Spitzer Tr.”)

12:7-8. Given this, it is unsurprising to find Rivas’s and Spitzer’s expert reports full of pages upon

pages of statutory interpretation and interpretations of case law. See Rivas Decl. 9-13, 22-33;

Spitzer Decl. 13-19, 32-48. This is not appropriate testimony for expert witnesses, and it should


   1
       Brian DeLay; Roger Pauly; Brennan Rivas; Robert Spitzer; and Kevin Sweeney.

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be disallowed. See Chaney, 2015 WL 4388420, at *10; Indep. Living Res., 982 F.Supp. at 765

(“[T]he interpretation of a law is peculiarly within the court's own expertise and thus is not a proper

subject for expert testimony.”). Defendants’ counsel are free to cite any statutes or regulations

they want to this Court and urge, at the appropriate times at trial or in briefing, that the Court give

those laws certain interpretations. But they are not free to offer experts to do the job in the Court’s

stead.

         Bruen itself clearly illustrates this point. There, the Court wrestled with interpretations of

statutes stretching back to the 13th century, yet it never once suggested that the normal rule against

expert testimony interpreting them could or should be altered. To the contrary, the Court resolved

the question before it without considering any expert testimony at all, instead relying on the

arguments of counsel, amici, and ultimately, its own expertise in analyzing such statutes. In doing

so, moreover, the Court specifically emphasized that “‘legal inquiry is a refined subset’ of a broader

‘historical inquiry,’” and that the legal inquiry is “[t]he job of judges.” Bruen, 142 S.Ct. at 2130

n.6. Thus, Bruen reinforces the general rule that “the role of experts is to interpret and to analyze

factual evidence rather than to testify about the law.” Bridgetown Condo. Homeowner’s Ass’n,

2009 WL 1743759, at *1.

         The Court should be particularly wary of the expert testimony Defendants have offered

because most of their experts disagree with—indeed openly disdain—the Bruen decision,

including the binding historical conclusions that the Supreme Court reached. 2 Indeed, their reports


   2
      E.g., “In NYSRPA v. Bruen, the high court has tossed aside the lessons—and facts—of law,
history and good public policy.” Robert J. Spitzer, How the Supreme Court Rewrote History to
Justify its Flawed Gun Decision, NBC News (June 23, 2022), https://nbcnews.to/3NAFzZM;
“Bruen follows from Heller. These are political decisions, unmoored from history. When these
disastrous rulings are eventually overturned—it will take a long time but I think that’s inevitable -
better justices will turn the ‘Originalists’ bogus concern for history against them.” Brian DeLay,
Tweet (June 23, 2022), https://bit.ly/40XW6Ku.

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provide good reason to think that, in the guise of (impermissible) statutory interpretation, experts

are trying to persuade this Court to repudiate some of the very same historical analysis that the

Supreme Court has already conducted. For example, Bruen held definitively that the 1328 Statute

of Northampton and its American analogues applied only to “bearing arms to terrorize the people.”

142 S.Ct. at 2143; see id. 2140-43. Yet Rivas’s report not only continues to treat the law as a

“concealed-carry statute[],” but declares defiantly that “[s]cholarly historical research has shown

that, under common law, courts considered the act of carrying deadly weapons in public spaces to

be inherently terrifying and therefore a breach of the peace”—which is exactly the contention that

the Supreme Court rejected in Bruen. Rivas Decl. 9 & n.7; see also Rivas Tr. 45:23-46:17.

Similarly, Spitzer’s declaration relitigates a debate from Heller regarding the significance of 18th

century gunpowder-storage laws without even mentioning that Heller considered and rejected

this argument. Compare Spitzer Decl. 46-48 with Heller, 554 U.S. at 632; id.at 685-87 (Breyer,

J., dissenting). There is thus particular reason in this case to adhere to the well-established rule

against allowing experts to offer legal interpretation.

       Finally, other defense experts offer “legal conclusion[s],” Hangarter, 373 F.3d at 1016

(emphasis removed), whether built on legal interpretations or simply by making an impermissible

leap from other types of testimony. Thus, for instance, Brian DeLay offers a report that is in some

respects properly focused on historical facts, yet at the end veers into an analysis of state laws from

the 1920s, culminating in the conclusion that “[i]n [passing them], these lawmakers acted

consistently with American tradition and practice dating back to the early colonial era.” DeLay

Decl. 39. This “an opinion on an ultimate issue of law,’” Hangarter, 373 F.3d at 1016, under

Bruen, which asks whether “the regulation is consistent with this Nation's historical tradition of




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firearm regulation,” 142 S.Ct. at 2126, and thus it is an impermissible “legal conclusion.”

Hangarter, 373 F.3d at 1016 (emphasis removed).

       Accordingly, this Court should exclude: Rivas’ testimony in its entirety; Spitzer’s

testimony in its entirety; and DeLay’s third opinion, see DeLay Decl. ¶¶61-77.

       B.      Some of Defendants’ Experts Offer Testimony that Is Not Relevant to the Legal
               Inquiry that Bruen Requires this Court to Conduct.

       “What is relevant depends on what must be proved.” Primiano, 598 F.3d at 567. And that,

in turn, “is controlled by [the underlying substantive] law.” Id. Here, the underlying substantive

law is set by Bruen, which prescribes two inquiries: [1] whether “the Second Amendment’s plain

text covers an individual’s conduct”; and [2] whether “the regulation is consistent with this

Nation’s historical tradition of firearm regulation.” 142 S.Ct. at 2126.         In assessing these

questions, courts also ask whether the firearms and magazines banned by Measure 114 are within

the Second Amendment’s definition of “arms,” which includes all “modern instruments that

facilitate armed self-defense,” id. at 2132; whether they are “in common use today” for lawful

purposes or are instead “dangerous and unusual,” i.e., “‘highly unusual in society at large,’” id. at

2143 (emphasis added) (quoting Heller, 554 U.S. at 627); whether the regulation “addresses a

general societal problem that has persisted since the 18th century,” and if so, whether there is a

“distinctly similar historical regulation addressing that problem,” id. at 2131; or whether the

regulation is justified by “unprecedented societal concerns or dramatic technological changes,”

and if so, whether the regulation is “relevantly similar” to historical regulations, including

consideration of “two metrics: how and why the regulations burden a law-abiding citizen’s right

to armed self-defense,” id. at 2132-33. But Bruen explicitly forbids conducting interest balancing

or generalized policy inquiries. 142 S.Ct. at 2129 (citing Heller, 554 at U.S. at 334; McDonald v.

City of Chicago, 561 U.S. 742, 790-91 (2010)); id.at 2131, 2133 n.7; see id. at 2127 n.4


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(overturning prior circuit-level precedent incorporating an interest-balancing element). And the

Supreme Court’s decision in Heller rejected as “bordering on the frivolous” the idea that courts

should use whether a certain arm was common at the time of the founding to determine whether it

is lawful now. 554 U.S. at 582.

       Given this underlying substantive law, a significant proportion of defendants’ expert

witness testimony is not “relevant.” Primiano, 598 F.3d at 567. Approximately half of defendants’

experts—Lucy Allen, Louis Klarevas, David McDowall, Michael Siegel, and Mackenzie Cook—

offer testimony that goes to the now-forbidden interest-balancing inquiry, and that could only be

considered relevant under that old, pre-Bruen standard. Before Bruen, Ninth Circuit law required

courts to “first ask ‘if the challenged law affects conduct that is protected by the Second

Amendment,’” then (generally) to apply intermediate scrutiny, under which the court asked

whether “the government's statutory objective [was] ‘significant, substantial, or important,’” and

whether there was a “‘reasonable fit’ between the challenged law and that objective.” Duncan v.

Bonta, 19 F.4th 1087, 1100, 1107 (9th Cir. 2021) (en banc), cert. granted, judgment vacated, 142

S.Ct. 2895 (2022). Both in selecting the tier of scrutiny and in applying intermediate scrutiny, this

involved weighing the “burden” the law imposed on a citizen’s right against the public-safety

benefits of the law as asserted by the state (to which “defer[ence]” was owed). See id. at 1103-04,

1108-11. But Bruen explicitly rejected the second step of that inquiry “as one step too many,”

holding that courts may not engage in means-ends balancing. 142 S.Ct. at 2127, 2129.

       Yet defendants offer evidence that goes (and could only go) to just such inquiry now.

Perhaps the most egregious examples of this are the testimony of Drs. Cook and Siegel. Dr. Cook

is a trauma surgeon whose opinions can be summarized as: (1) treating gunshot victims with

multiple wounds is challenging, and (2) the number and severity of gunshot wounds has increased



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in recent years. Cook Decl. 1-4. These opinions clearly bear no relationship to the Bruen inquiries

of whether “the Second Amendment’s plain text covers an individual’s conduct” and whether “the

regulation is consistent with this Nation's historical tradition of firearm regulation.” 142 S.Ct. at

2126. Nor can they be justified as relating to whether a given weapon is “dangerous and unusual”:

“[T]his is a conjunctive test: A weapon may not be banned unless it is both dangerous and unusual,”

because of course all firearms are deadly. Caetano v. Massachusetts, 577 U.S. 411, 417 (2016)

(Alito, J., concurring in the judgment). Dr. Cook’s testimony is plainly being offered for the same

reason that similar testimony was offered in pre-Bruen cases—to argue that the state has a

particularly strong justification for banning these particular sorts of weapons. See, e.g., Worman

v. Healey, 922 F.3d 26, 39 (1st Cir. 2019) (testimony of trauma surgeon weighed in intermediate-

scrutiny analysis), abrogated by Bruen, 142 S.Ct. 2111. Putting aside for the moment that Dr.

Cook could not even make that showing, 3 the showing itself has been ruled out by Bruen.

       For his part, Dr. Siegel, an epidemiologist, offers essentially the same testimony elevated

to a society-wide level, opining that “There is Strong Evidence that the Use of Large Capacity

Magazines Increases the Number of Fatalities in Mass Shooting Events” and that their reduction

would be helpful, as well as offering similar opinions as to the efficacy of the state’s permitting

regime. Siegel Decl. 7; see id. at 5. Such arguments were a staple of pre-Bruen interest balancing




   3
      Dr. Cook offers the opinion that in “recent years, doctors in trauma centers across the country
have been troubled by what appears to be an increase in the number and severity of gunshot victims
that we treat.” Cook Decl. ¶13. The studies cited by Dr. Cook in support of this opinion make it
clear that he is considering “recent years” as the prior two decades. Id. n.1. But as he conceded in
his deposition, these studies actually show a decrease or no change in gunshot victims during that
period, though they show an increase in hospitalization due to gunshot wounds. Lindsay Decl.,
Exhibit 7, Cook Tr. (“Cook Tr.”) 36:4-19; 37:18-38:18, 42:11-23.

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decisions. 4 And yet again, this evidence is irrelevant under the inquiries prescribed by Bruen, see

supra, p.9. Thus the expert testimony to that effect is irrelevant under Daubert and Kumho Tire.

       While Drs. Cook and Siegel provide particularly stark illustrations of this tendency to offer

irrelevant testimony going to pre-Bruen interest balancing—after all, Bruen does not provide for

consulting medical doctors on whether constitutional rights are being infringed—they are by no

means unique in that regard. At her deposition, Defense expert Lucy Allen repeatedly disclaimed

any ability to answer whether the magazines at issue in this case are in “common use” or

“commonly owned” for self-defense (the relevant inquiries under Bruen), maintaining that her

testimony was limited only to the opinion that they are not “commonly needed” (an irrelevant

inquiry under Bruen). See Lindsay Decl. Exhibit 3, Allen Tr. (“Allen Tr.”) 33:6-39:18; 57:11-

58:21; 64:9-13; 65:22-66:18. Indeed, Allen offered the exact same testimony in a pre-Bruen case,

Fyock v. City of Sunnyvale, in which it was used in the intermediate-scrutiny interest-balancing

inquiry. See 25 F.Supp.3d 1267, 1279-80 (N.D. Cal. 2014), aff’d sub nom. Fyock v. Sunnyvale,

779 F.3d 991 (9th Cir. 2015); see also Ass’n of N.J. Rifle & Pistol Clubs, Inc. v. Grewal, 2018 WL

4688345, at *5 (D.N.J. Sept. 28, 2018).

       Likewise, Louis Klarevas was retained to address the “relationship between large-capacity

magazines (LCMs) and mass shootings, including how restrictions on LCMs impact mass shooting

violence,” which is almost an exact recitation of the pre-Bruen balancing inquiry. Klarevas Decl.

¶2; compare Fyock, 779 F.3d at 1000 (“Sunnyvale also presented evidence that large-capacity

magazines are disproportionately used in mass shootings as well as crimes against law



   4
      See, e.g., Duncan, 19 F.4th at 1096, 1109-11; Fyock v. Sunnyvale, 779 F.3d 991, 1000 (9th
Cir. 2015); Kolbe v. Hogan, 849 F.3d 114, 127 (4th Cir. 2017) (en banc), abrogated by Bruen, 142
S.Ct. 2111.



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enforcement, and it presented studies showing that a reduction in the number of large-capacity

magazines in circulation may decrease the use of such magazines in gun crimes.”). 5

       Moreover, the effects of allowing such testimony will spiral: Because Allen offered her

arguments about defensive gun use and Klarevas offered his opinion as to the policy balance

between lawful gun ownership and gun violence, plaintiffs had to offer Gary Kleck to respond.

See Kleck Decl. 5-15 (responding to Allen), 15-22 (responding to Klarevas). Then, in turn,

Defendants offered David McDowall to critique Kleck. See McDowall Rep. 2-8; but see id. at 5

(“[M]any of Kleck’s critics acknowledge … as conceivable” the point McDowall is attacking).

The result is dozens of pages of expert testimony—and, if not stopped, hours and hours of trial

time—spent on questions that were ruled out of bounds by the Supreme Court in Bruen. See 142

S.Ct. at 2131 (rejecting “federal courts … making … empirical judgments regarding firearms

regulations”), 2133 n.7 (courts may not “engage in independent means-ends scrutiny”).

       That Defendants’ experts continue to offer such opinions is perhaps unsurprising, given

that they nigh-uniformly think Bruen was wrongly decided. But expert testimony seeking to

relitigate Bruen is neither relevant nor permissible. So too of efforts to relitigate Heller. Yet that

is exactly what Kevin Sweeney does in his report and deposition, where he focuses on what types

of firearms were and were not commonly owned in the 18th century. See Sweeney Decl. 4-27;

Lindsay Decl. Exhibit 4, Sweeney Tr. (“Sweeney Tr.”) 9:6-8 (“They asked me to testify about what

kind of firearms were commonly owned and used by Americans in the 18th century.”). As the


   5
     Even in a pre-Bruen posture, Klarevas’s testimony was actually rejected by one court because,
while he maintained, there as here, that banning magazines with a capacity of over ten rounds
would “reduce violence and force shooters to take a critical pause,” this was contradicted by his
admission elsewhere that “‘a person set on inflicting mass casualties will get around any clip
prohibitions by having additional clips on his person … or by carrying more than one fully loaded
weapon.’” Duncan v. Becerra, 366 F. Supp. 3d 1131, 1173 (S.D. Cal. 2019) (citing Louis Klarevas,
Closing the Gap, The New Republic (Jan. 13, 2011), https://bit.ly/3o3PKfg).

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Supreme Court explained in summarily reversing a court for employing such reasoning, “[t]his is

inconsistent with Heller’s clear statement that the Second Amendment ‘extends ... to ... arms ...

that were not in existence at the time of the founding.’” Caetano, 577 U.S. at 412 (per curiam).

Indeed, Heller rejected the argument “that only those arms in existence in the 18th century are

protected by the Second Amendment” as “bordering on the frivolous.” 6 554 U.S. at 582. As the

Court explained, “[j]ust as the First Amendment protects modern forms of communications, and

the Fourth Amendment applies to modern forms of search, the Second Amendment extends, prima

facie, to all instruments that constitute bearable arms, even those that were not in existence at the

time of the founding.” Id. (citations omitted). Expert testimony offered to support an argument

that the Supreme Court has rejected as “border[line] … frivolous” is patently not “relevant” for

Daubert purposes.

       Accordingly, this Court should exclude:        Cook’s, Siegel’s, Allen’s, McDowall’s and

Sweeney’s testimony in their entirety; and Klarevas’s first, second, and fifth opinions, see Klarevas

Decl. ¶11.

                                                ***

       Plaintiffs do not maintain that all of Defendants’ expert testimony is legally inadmissible.

To take two examples, James Yurgealitis possesses firearms expertise that could be useful in

“help[ing] the trier of fact to understand the evidence” if the court is not familiar with how the

firearms at issue here operate. Fed. R. Evid. 702(a). Roger Pauly’s history of firearms likewise

meets that Rule 702 test. But as much as Defendants may wish to litigate this case in a pre-Bruen



   6
     The feeling is apparently mutual: Dr. Sweeney, for his part, remarks that “[i]f a student had
presented that kind of historical reasoning [the Supreme Court employed in Heller] to me in a
research paper in my seminar The American Revolution, I might have given it a B plus if I was in
a generous mood.” Sweeney Tr. 47:1-4.

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(or even pre-Heller) world, this Court is bound by the holdings of the Supreme Court. And it

certainly would not serve the interests of either reasoned analysis or judicial economy to hear hours

upon hours of testimony speaking to issues that the Supreme Court has declared legally irrelevant.

II.    Some of Defendants’ Experts Have Further Flaws Under Daubert.

       A.      Dennis Baron’s Testimony Lacks a Proper Foundation.

       Defendants offer the testimony of Professor Dennis Baron as an expert in corpus

linguistics. Baron would testify that “[t]he lexical evidence leads me to conclude that ammunition

and ammunition storage containers were considered accoutrements and not arms during the

Founding and Reconstruction Eras.” Baron Decl. ¶3; Lindsay Decl., Exhibit 5, Baron Tr. (“Baron

Tr.”) 11:17-20. This opinion rests on Baron’s survey of linguistic corpora for the term “cartridge

box” (and close synonyms), which he identified as “analogues to modern firearm magazines.”

Baron Decl. ¶26; Baron Tr. 23:2-4. Though Plaintiffs do not challenge Baron’s qualifications as a

linguist, his entire analysis turns out to rest on an improper foundation: He simply assumed that

“cartridge box” is an appropriate 18th century linguistic analogue for “magazine”—even though

common sense dictates that it is not. See Baron Tr. 25:18-30:5.

       In the first instance, Baron did not follow reliable methods in selecting this analogue. He

consulted no other experts or written sources on firearms in choosing “cartridge boxes” as the

analogue to “magazines.” And he repeatedly disclaimed knowing in any detail or with any

certainty how firearms or magazines worked, or how or when they have evolved. See Baron Tr.

27:5-20; 28:13-15; 29:12-18; 30:15-19; 37:7-13; 99:20-24. Indeed, Baron testified that “the first

time I actually read something about how modern firearms magazines work” was when he read an

article about them “in the Washington Post just the other day.” Baron Tr. 27:10-12. Baron could

not explain his process for selecting “cartridge box” as the analogue for “firearms magazine.” See



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id. at 25:21-26:15.7 To the extent Baron eventually did settle on an explanation for his choice, it

was that the two purportedly share “functional similarity” because “[b]oth hold ammunition.” Id.

at 26:25-27:1. Only someone who concededly knows nothing about how firearms actually work

could make such a fundamentally flawed claim.

       At the time of the Founding, while the cartridge box did indeed “hold ammunition,” it did

nothing more than that. It was simply a box in which ammunition was stored. To actually use the

ammunition that a cartridge box held took more than a dozen steps. See Baron Tr., Ex. 29 at 15,

30-37. One had to remove the gunpower stored in the cartridge box and feed it by hand into the

barrel of the musket, followed by a ball that was loaded using a ramrod. Gunpowder was also

introduced into the flintlock mechanism as priming. See id. The cartridge box played no role in

any part of that process. A modern magazine, by contrast, plays a critical role in the functionality

of a firearm. The magazine is attached to the firearm, and it actively feeds a fresh round into the

chamber (by use of a spring) automatically after each shot is fired. It thus combines the functions

of the cartridge box, powder horn, ramrod, and individual loading the weapon—none of which

Baron even considered. See, e.g., Baron Tr. 29:24-30:5; 47:1-48:23; 100:2-4. Baron ultimately

acknowledged this crucial flaw in his analysis:

       Q: Given that they are relevantly similar in that both hold bullets, what is the
       difference between a modern magazine and a box that contains bullets?



       7
         Q: In terms of your procedure, how did you select “cartridge box” as your
       analog for “firearms magazines”? A. You know, I’m not entirely sure. … A. It
       happened several months ago when I first made the connection, and I don’t
       remember exactly how it happened. Q. Did you consult with one of the other
       experts in making this conclusion? A. No. Q. Did you consult any written
       sources in making this conclusion? A. I believe it came through some of the
       reading I was doing about magazines. Q. Did you talk with any firearms
       engineers or firearms historians before deciding that “cartridge box” was the
       analog you would use for “magazine”? A. No. Q. Why didn’t you consult any
       of these sources? A. I didn’t know anybody to consult.
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       A: The magazine, once it contains bullets, combines the function of holding the
       bullets and feeding the bullets into the firearm.

Baron Tr. 103:17-22; see id. at 26:25-27:1 (defining “cartridge box” as a box that “hold[s]

ammunition”); cf. id. at 25:1-17 (agreeing with the Bruen Court’s definition of analogues as a

search for things “relevantly similar”). Indeed, Baron ultimately testified that “there is no analogy

to a mechanical feeding device in common use in the founding period.” Baron. Tr. 108:22-25

(emphasis added).

       The analogy between “firearms magazine” and “cartridge box” is the foundation of Barons’

report. Yet, as seen, that foundation does not bear weight, as this case is not about an effort to ban

boxes that merely hold ammunition. It is about an effort to ban devices that actually feed

ammunition into a firearms. Baron is thus unable to “establish[] that his interpretations of …

words and phrases … were supported by reliable methods.” United States v. Hermanek, 289 F.3d

1076, 1093 (9th Cir. 2002) (holding that a Daubert challenge should have been granted on this

basis). His testimony should be excluded in its entirety under Daubert.

       At a minimum, this Court should reject Baron’s opinion as to the public meaning of “arms”

at the time of the Fourteenth Amendment, which is fatally flawed for additional reasons. Baron

states in his report that he did not consider public uses of “magazine” at the time of the Fourteenth

Amendment because “[t]he word ‘magazine’ was not typically used to refer to a container of

ammunition until late in the nineteenth century.” Baron Decl. 12; see Baron. Tr. 62:11-14; 63:25-

64. Rather, he continued to search for uses of “cartridge box.” But as Baron acknowledged at his

deposition, the Civil War-era patents for the Henry, Sharps, and Winchester repeating rifles did use

the word “magazine” in its modern sense. See Baron Tr. 48:24-55:18; Exs. 35, 36, 38. So did the

New York Times, which used the phrase “repeater or magazine carbine” without further explanation

as early as 1864. See Baron Tr., Ex.32. As Baron himself explained, that means that the readership


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of the New York Times would have been familiar with the term “magazine” in its modern sense.

Baron. Tr. 55:21-59:23. Yet Baron nevertheless focused only on public uses of the word “cartridge

box” even when it came to the time of the Fourteenth Amendment. 8 Compounding the problem,

Baron admitted that neither the patents nor the New York Times article appeared in his corpora,

raising separate reliability issues. See Baron Tr. 56:23-25 (“This [article] is one that did not come

up in my newspaper searches, which is curious, because they did cover the Times.”); id. at 100:12-

25 (patents not in corpora). His opinion as to the public meaning of “arms” at the time of the

Fourteenth Amendment should therefore be excluded, as it is not a reliable means of assisting the

Court in answering any question that is relevant to this case.

       Finally, Baron’s report is not “reliable” or “relevant” under Daubert for yet another reason.

The Second Amendment uses “arms” without reference to “accoutrement” or “ammunition.” Yet

Baron testified that he did not “analyze the several thousand instances of the use of ‘arms’ on its

own” in his corpora “to see if they, in context, covered ammunition and accoutrement also,”

because there were “[t]oo many” to allow him to do so in a timely manner. Baron Tr. 66:23-67:3.

In other words, he looked only at instances in which accoutrement or cartridge boxes were

specified as distinct from “arms”, and then reasoned from this that cartridge boxes were

accoutrements. But that, of course, does not answer the question of whether ammunition or

accoutrements would have been considered parts of “arms.” Indeed, Baron indicated that, based

on examples he was given at deposition, ammunition and accoutrements would have been

considered part of “arms” when that term was used on its own. See Baron. Tr. 67:7-79:25. Baron




   8
     This is, again, in any event not a reliable methodology for answering any legal question that
matters in this case, because this case is not about an effort to ban boxes that merely hold
ammunition, but about an effort to ban devices that actually feed ammunition into a firearms.

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thus was not even studying the question that actually matters under Bruen, rendering his report not

“relevant” under Daubert.

       Baron’s testimony should be excluded in its entirety.

       B.      Dr. Siegel’s Opinions That Discretionary Denials of Permits Reduce Gun
               Violence Is Unsupported.

       One of the questions in this case is whether Oregon’s permit-to-purchase and double-

background-check regime is legally similar to other permitting regimes, such as the shall-issue

laws discussed by the Supreme Court in Bruen. See Dkt. 161 at 7-9, 11-12. But nobody doubts

that these two types of regimes are factually dissimilar in a critical respect—i.e., one applies to

any citizen who seeks to acquire an arm, and the other applies only to the subset of owners who

wish to carry an arm concealed in public. Defendants have offered Dr. Siegel to opine that “state

laws that require state permits for the purchase and possession of firearms are effective in reducing

firearm violence, both from firearm homicide generally and from mass public shootings.” Siegel

Decl. 24. Yet, in his research, Dr. Siegel did not differentiate between types of permitting regimes.

This makes his opinion unsupported, misleading, and, for the purposes of this case, irrelevant.

       Specifically, Dr. Siegel did not compare the components or language of the permit laws,

even as he aggregated studies to draw generalized conclusions about “state permitting laws.”

Siegel Decl. ¶49; see id. ¶¶35-48; Lindsay Decl., Exhibit 6, Siegel Tr. (“Siegel Tr.”) 55:5-13 (“Q.

In your review of … the literature and your research, did you consider any of the differences

between those state permitting schemes and how that would affect your opinion? A. No…”). He

instead inexplicably just declared all permitting regimes effective, even as he acknowledged that

he did not actually study whether one type is more or less effective than another: “[T]here is no

reason to believe that details about the permitting system are going to change my opinion about its

effectiveness.” Siegel Tr. 55:24-56:3; see id. at 55:14-18 (“Q. So do you have an opinion as to


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whether particular details of a state permitting scheme are more or less important, essential to your

conclusion about reduction of homicides and mass shootings? A. I don’t believe that they are

important ….”).    Because Dr. Siegel—by his own admission—has not done the homework of

actually looking at the differences between types of permitting regime, his conclusion about

effectiveness of Oregon’s permit-to-purchase regime is by definition unsupported.

       It is also misleading: Dr. Siegel’s testimony gives the impression that Measure 114’s

permit-to-purchase requirement will reduce firearm violence, but in reality, the most it could

support is the idea that some type of permitting requirement may reduce firearms violence. That

is precisely the kind of misleading and unhelpful expert testimony that courts have a duty to

exclude. See United States v. Rincon, 28 F.3d 921, 926 (9th Cir. 1994) (“District courts must strike

the appropriate balance between admitting reliable, helpful expert testimony and excluding

misleading or confusing testimony.”).

       Moreover, even if Dr. Siegel had broken out permit-to-purchase versus concealed-carry

permits, his testimony would still be flawed, because he did not attempt to review which specific

components of the permitting laws are beneficial to reducing gun violence. Siegel Tr. 55:14-56:3.

For example, Dr. Siegel could not opine as to whether the various recordkeeping components of

permitting laws reduced gun violence. Siegel Tr. 58:12-25. Nor could he opine as to the effect of

time delays—a crucial question in this case. See Siegel Tr. 56:4-9 (“Q. So, for example, if different

state law permitting schemes have different periods of time between how long it takes to apply for

and obtain a permit, that in your opinion wouldn't change your conclusion in this case. A. No.”).

       Even when it comes to Measure 114 itself, Dr. Siegel could opine as to only some

components of law. For example, Dr. Siegel opined that criminal background checks (section

4(1)(b)(A)) and what he called red flag laws (section 4(1)(b)(B)) would tend to reduce gun



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violence. See Siegel Tr. 63:16-64:14; 67:6-68:6. But he could give no firm answer one way or the

other on one of the most constitutionally problematic aspects of the law, Section 4(1)(b)(C), which

empowers the permitting officer to decline a permit application on his own discretion if he

“conclude[]s that the applicant has been or is reasonably likely to be a danger to self or others or

to the community at large as a result of the applicant’s mental or psychological state.” See Siegel

Tr. 68:7-19. Instead, he was left to state that his opinion went only to the statute “as a whole,” and

that he was not “really asked to say … which part of this is going to have [a given] effect.” Siegel

Tr. 62:1-17.

        In short, Dr. Siegel has concluded that permit regimes are effective at reducing gun

violence, but he has not accounted for the alternative explanation any reduction in firearm violence

that appears correlated to permitting regimes may be a product of certain features of a permit

regime that are not necessarily included in Measure 114 or that would exist with or without it. See

Barrett v. Rhodia, Inc., 606 F.3d 975, 981 (8th Cir. 2010) (explaining that when an expert failed to

“rule out alternative causes of [] injury” that testimony was “speculative or unsupported by

sufficient facts.”).   This omission is particularly glaring in light of the state’s aggressive

severability arguments regarding Measure 114. See Dkt. 161 at 12, 14, 26.

        Dr. Siegel’s opinion that discretionary denials of permits reduce gun violence, see Siegel

Decl. ¶¶35-49, should be excluded.

        C.      Kevin Sweeney’s Testimony Relies Entirely on Incomplete and Inaccurate
                Data.

        Defendants offer Professor Kevin Sweeney as a historical expert. Even setting aside the

problem that his testimony speaks only to an argument that the Supreme Court has rejected as

“bordering on the frivolous,” Heller, 554 U.S. at 582, see supra Part I.B, his testimony has flaws

that render it inaccurate and thus inappropriate as expert testimony.


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        The core of Sweeney’s testimony relies on two bodies of evidence: historical probate

inventories and newspapers that have been archived in the America’s Historical Newspapers

database. Sweeney Tr. 10:12-12:18. As to the first, by Sweeney’s own admission, his probate

inventory data is incomplete and inaccurate. The probate inventories do not account for weapons

owned by men killed in combat, Sweeney Tr. 69:19-22 (“If someone used their own personal arm

in battle and left it on the field or he was dead it was left on the field, it would not be in the estate

inventory”); for weapons borrowed but not owned, Sweeney Tr. 67:15-68:2 (“[O]ne in six

militiamen would be from 16-20. They probably aren’t owning … their own firearms … they’ll

show up at the Continental Army without their own firearm unless an older brother or, you know,

grandfather has given it to them. So that’s a probate inventory bias”); for weapons owned by

anyone who was not maintaining a household, including women, Sweeney Tr. 72:2-7 (“It does not

include women. It does not include men, as I’ve said, who–whose possessions were limited to

livestock, financial instruments or slaves because those are probably not individuals maintaining

a household or, you know, serving in the militia”); or even for weapons that owner’s executors

simply did not know about, Sweeney Tr. 62:10-21 (“[The executor or appointed administrator]

would go through the house, the barns, and the whole thing and presumably see it. It is also clear

that they asked family members and survivors [if] something is not [t]here”). Yet Sweeney openly

acknowledges that he did not make any adjustments to his probate inventory data to account for

any of the potential discrepancies that he acknowledges causes probate inventory bias. Sweeney

Tr. 70:23-71:10.

        Moreover, by Sweeney’s admission, the data from newspapers he relies on to determine

whether repeating arms were common in the 18th century is likewise incomplete. At least two

significant newspapers are missing from Sweeney’s datasets, because they are simply not part of



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America’s Historical Newspapers database. Sweeney Tr. 74:9-25 (notes that the South Carolina

Gazette and Savannah Gazette are not part of the database and that he has not finished his research

of those papers). Because the data on which he relies is admittedly incomplete and inaccurate, so

too are the opinions that he formed based on that incomplete and inaccurate data. See Arjangrad

v. JPMorgan Chase Bank, N.A., 2012 WL 1890372 at *6 (D. Or. May 23, 2012) (quoting Smith v.

Pac. Bell Tel. Co., 649 F.Supp.2d 1073, 1097 (E.D.Cal.2009)) (“Reliance on incomplete facts and

data may make an expert opinion unreliable because an expert must ‘know[] of facts which enable

him to express a reasonably accurate conclusion.’”).

       Sweeney’s testimony should be excluded in its entirety.

                                         CONCLUSION

       For the reasons set forth above, this Court should:

           1. Exclude Rivas’s testimony in its entirety; Spitzer’s testimony in its entirety; and

               DeLay’s third opinion, see DeLay Decl. ¶¶61-77.

           2. Exclude Cook’s, Siegel’s, Allen’s, McDowall’s and Sweeney’s testimony in their

               entirety; and Klarevas’s first, second, and fifth opinions, see Klarevas Decl. ¶11.

           3. Exclude Baron’s testimony in its entirety.

           4. Exclude Dr. Siegel’s opinion that that discretionary denials of permits reduce gun

               violence, see Siegel Decl. ¶¶35-49.

           5. Exclude Sweeney’s testimony in its entirety.




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        Respectfully submitted,


   DATED: May 15, 2023                       JURISLAW LLP

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                  CERTIFICATE OF COMPLIANCE WITH L.R. 7-2(B)(2)

       I certify that this brief complies with the applicable word-count limitation under L.R. 7-
2(b), 26-3(b), 54-1(c), or 54-3(e) because it contains 7,508 words, including headings, footnotes,
and quotations, but excluding the caption, table of contents, table of authorities, signature block,
and any certificates of counsel.
       DATED this 15th day of May, 2023.


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